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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                                      CNIL ACTION NO. 4:19-cv-1 1093TSH


PAUL JONES,
     Plaintiff
                                                      DEFENDANTS MONTACHUSETT
                                                      REGIONAL TRANSIT AUTHORITY,
MONTACHUSETT REGIONAL TRANSIT                         REBECCA BADGLEY, DONNA
AUTHORITY, HB SOFTWARE                                LANDRY, BONNIE MAHONEY,
SOLUTIONS, INC, REBECCA BADGLEY,                      KAREN CORDIO, JOANNE NORRIS,
DONNA LANDRY, BONNIE MAHONEY,                         STEPHANIE RICHARDS, TAMARA
KAREN CORDIO, JOANNE NORRIS,                          SHUMOVSKAYA, JESSICA TORRES,
STEPHANIE RICHARDS, TAMARA                            AMANDA KUKTA, ROBERT MONK,
SHUMOVSKAYA, JESSICA TORRES,                          MICHELLE MOYO,IVAN ROMAN and
AMANDA KUKTA, ROBERT MONK,                            CRYSTAL GEISERT'S MOTION TO
MICHELLE MOYO, IVAN ROMAN,                            DISMISS
CRYSTAL GE,ISERT, JANE DOE ANd JOHN
DOE,
        Defendants



       Plaintiff, Paul Jones ("Plaintiff') is the Director and is an employee of Commonwealth

Community Recovery Division, Inc. ("CCRD"). CCRD has a contract with Defendant

Montachusett Regional Transit Authority ("MART") to provide transportation services for

MART's operating company, providing services to the EOHHS, In his Verified Amended

Complaint ("Complaint"), Plaintiff alleges that Defendants MART, Rebecca Badgley, Donna

Landry, Bonnie Mahoney, Karen Cordio, Joanne Norris, Stephanie Richards, Tamata

Shumovskaya, Jessica Torres, Amanda Kukta, Robert Monk, Michelle Moyo, Ivan Roman, and

Crystal Geisert, all either current or former MART employees (collectively "MART

Defendants") violated the Telephone Consumer Practices Act, 47 U.S'C., ç 227 ("TCPA") by

calling his cellphone many times using an automatic telephone dialing system (Counts I and II).

In addition, plaintiff alleges that the MART Defendants discriminated against him on the basis of


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his race and/or membership in another protected class, in violation of Title VI (Count VII), Title

VII of the Civil Rights Act of 1964 (Counts III, V,             and   VI),   and G.L, c. 151B (Count VIIÐ.

Finally, Plaintiff brings a claim for intentional infliction of emotional distress against the

individual MART Defendants.

        The MART Defendants now move this honorable Court to dismiss all of Plaintiff                    s



claims against them pursuant to Rule i 2(b)(6) of the Federal Rules of Civil Procedure. As

grounds therefore, the MART Defendants state that because Plaintiff is admittedly not an

employee of MART, but rather is an employee of a MART vendor CCRD, Plaintiff lacks

standing to bring a claim under Title    VII of the Civil Rights Act of 7964,42 U.S.C.             $ 2000e et

al. ("Title   VII") or G.L. c. 1 5 1B ("Chapter   1   5   18") which both prohibit discrimination in

employment. Plaintifls complaint of violation of Title VI of the Civil Rights Act of 1964,42

U.S.C. $ 2000d-3 ("Title VI") similarly fails because even if MART received federal assistance

for the services being provided by Plaintiff s employer CCRD, which MART denies, Plaintiff is

not the intended beneficiary of the federal assistance provided and therefore has no standing to

bring a claim for the violation of Title VI.

        In addition, Plaintiff s claims for the violation of the TCPA must be dismissed because

the telephone calls of which Plaintiff complains are not the type protected under the TCPA and

were made to Plaintiff not as a consumer, but in his role as the dispatcher/manager and employee

of a MART vendor, CCRD.

         Further, Plaintiff s claim for intentional infliction of emotional distress against MART

must be dismissed because MART is a public employer and is therefore exempt from such

claims pursuant to the Massachusetts Tort Claims Act, G.L. c. 258, $ 10(c). Finally Plaintiff                s


claims for the intentional infliction of emotional distress against the individual MART



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Defendants must be dismissed because the behavior alleged, even   if all true, is not so extreme,

outrageous and beyond the bounds of human decency as to support such a claim, Rather, what

the numerous exhibits attached to Plaintifls Complaint show is that the individual MART

Defendants in the scope of their employment with MART attempted as best they could to

respond to Plaintifls numerous inquiries and to assist him with his questions about and use of

the MART vendor portal. Albeit at times mistakes were made, but such mistakes were not and

are not so extreme and outrageous and beyond the bounds of human decency to support a claim

for intentional infliction of emotional distress against them.

       In further support of their Motion to Dismiss, the MART Defendants rely upon the

Memorandum of Law filed herewith.

       Wherefore, the MART Defendants respectfully request that all of the claims contained in

Plaintiffls Complaint brought against them be dismissed.

                                                       DEFENDANTS

                                                       MONTACHUSETT REGIONAL TRANSIT
                                                       AUTHORITY, REBECCA BADGLEY,
                                                       DONNA LANDRY, BONNIE MAHONEY,
                                                       KAREN CORDIO, JOANNE NORRIS,
                                                       STEPHANIE RICHARDS, TAMARA
                                                       SHUMOVSKAYA, JESSICA TORRES,
                                                       AMANDA KUKTA, ROBERT MONK,
                                                       MICHELLE MOYO, IVAN ROMAN, and
                                                       CRYSTAL GEISERT

                                                       By their attorneys,
                                                       /</ >e.boraVtI      Va pr


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                                                       Deborah I. Ecker (BBO# 554623)
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                                    CERTIFICATE OF SERVICE

          I, Deborah I. Ecker certify that the above document will be served by first-class mail

upon any party or counsel of record who is not a registered participant of the Court's ECF

system, upon notification by the Court of those individuals who will not be served electronically



Date: August 5,2019                                    /</   >ph,nralr'   I   V¿   pv




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